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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
____________________________________
PETRINA SMITH,                       )
                                     )
            Plaintiff,               )
                                     )
v.                                   ) No. 19-1348C
                                     ) Judge Roumel
UNITED STATES OF AMERICA             )
                                     )
            Defendant.               )
                                     )

          THE PARTIES’ JOINT MOTION FOR ENTRY OF PROTECTIVE ORDER

      Pursuant to Rule 26(c) of the Rules of the United States Court of Federal Claims (RCFC),

the parties’ respectfully request the Court to enter the attached joint proposed Protective Order.

      The protective order is necessary to permit defendant, The United States, to release to

plaintiffs’ counsel certain information contained in records protected from disclosure under the

Privacy Act and to provide protection against possible violations of rights protected by the

Privacy Act, 5 U.S.C. § 552a, and other laws, rules, or regulations. The terms of the proposed

Protective Order will govern defendant’s providing and plaintiffs’ access to information covered

by the terms of the order. Accordingly, the parties respectfully request that the Court enter the

attached proposed protective order.



                                                     Respectfully submitted,
                                                     For The United States:

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                                                     Assistant Attorney General
 For Plaintiff:                                      ROBERT E. KIRSCHMAN, JR.
                                                     Director
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